        Case 2:18-cv-00244-SAB     ECF No. 40   filed 04/18/19   PageID.330 Page 1 of 2



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                                                                             FILED IN THE
 3                                                                       U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


 4
                                                                    Apr 18, 2019
 5                                                                      SEAN F. MCAVOY, CLERK


 6                            UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 JOSEPH STIGAR, individually and on
10 behalf of all others similarly situated,         NO. 2:18-cv-00244-SAB
11               Plaintiff,
12               v.
13 DOUGH DOUGH, INC., a Washington                  ORDER DISMISSING CLAIMS
14 Corporation, AUNTIE ANNE’S
15 FRANCHISOR SPV, LLC, a Delaware
16 Limited Liability Company; and DOES 1
17 through 10, inclusive,
18               Defendants.
19
20         Before the Court is the parties’ Stipulated Motion to Dismiss, ECF No. 39.
21 The motion was heard without oral argument. The parties ask the Court to dismiss
22 with prejudice Plaintiff’s individual claims and dismiss without prejudice the
23 claims of the putative class.
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28 //

     ORDER DISMISSING CLAIMS ~ 1
      Case 2:18-cv-00244-SAB     ECF No. 40    filed 04/18/19   PageID.331 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1. The parties’ Stipulated Motion to Dismiss, ECF No. 39, is GRANTED.
 3        2. Plaintiff’s individual claims asserted against Defendants are dismissed
 4 with prejudice and the claims of the putative class are dismissed without prejudice
 5 and without costs and fees to any party, except as may otherwise be expressly
 6 provided for in the parties’ settlement agreement.
 7        IT IS SO ORDERED. The District Court Executive is hereby directed to
 8 file this Order, provide copies to counsel and close the file.
 9        DATED this 18th day of April 2019.
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                                                   Stanley A. Bastian
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                                               United States District Judge
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     ORDER DISMISSING CLAIMS ~ 2
